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                          Exhibit 8
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   Be Prepared
   Physically Prepared


      1. Craigslist For Rent             8. Facebook
      2. Craigslist For Sale             9. Training Certificate
      3. Mirror                          10. Lead Card
      4. Information Center Address      11. Daily Activity Worksheet
      5. Extension List                  12. Planner
      6. Apartment Mailer (front &     13. Manual
         back)
      7. Single Family Mailer (front & 14. Eblast
         back)
                       15. New Home Consultant’s Goal




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